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                                   STATEMENT OF FACTS

        1.     Your affiant, Alexander Grandy is a Task Force Officer assigned to the Federal
Bureau of Investigation (FBI) / Joint Terrorism Task Force (JTTF). I am assigned to the Fort Myers
Resident Agency of the Tampa Field Office. I have been in this position since August 2018. In my
current duties, I am responsible for investigating individuals engaging in Domestic and
International Terrorism. Since my time with the FBI, I have led and participated in investigations
of criminal violations of federal laws including, but not limited to bomb threats and providing
material support to terrorists. I have participated in the execution of search warrants involving
violent crimes, fraud, drug or computer related offenses, and the search of digital devices.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a Task Force Officer, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detention, investigation, or prosecution of a violation of
Federal criminal laws.

        2.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

       3.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Michael Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

       4.      As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior of
the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

       5.      At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       6.      Shortly thereafter, at approximately 2:20 p.m., members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the
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United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President
Pence remained in the United States Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.

        7.      During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        8.     On January 13, 2021, a tipster (T-1) contacted FBI personnel to report that s/he
believed that Christopher WORRELL traveled to and potentially participated in the riot at the U.S.
Capitol on January 6, 2021. T-1 relayed that s/he has a mutual acquaintance with Christopher
WORRELL’s live-in girlfriend, and that this live-in girlfriend had relayed to the acquaintance that
WORRELL is a Proud Boy and that he and the live-in girlfriend traveled to Washington D.C. to
be there on January 6, 2021. T-1 also advised that s/he observed a video on WORRELL’s Facebook
page that showed WORRELL participating in the riots at the U.S. Capitol on January 6, 2021. By
the time T-1 provided the link to this video to the FBI, the video had been taken down or was not
viewable to those who were not “friends” with WORRELL on Facebook.

        9.      On January 18, 2021, I interviewed WORRELL and asked him whether he had
participated in the U.S. Capitol riots on January 6, 2021 and whether he had any information on
any known, planned violence in relation to the upcoming Presidential Inauguration on January 20,
2021. WORRELL was extremely agitated and upset that the FBI was at his house. He eventually
admitted that he was at the U.S. Capitol on January 6, 2021, but denied entering the U.S. Capitol
building, and specifically denied any other wrongdoing or criminal conduct on his part. He also
became agitated when asked about the Proud Boys. WORRELL stated that “the Proud Boys were
not a racist white supremacist group like the media tries to portray.”

        10.     I have subsequently accessed open-source materials located on various Twitter
accounts. I do not know who operates the accounts, and I am not aware of the credibility or lack
thereof of the information posted on the account. The following two photographs were located on
this website. From the photograph on WORRELL’s Florida driver’s license, which I have
reviewed, as well as my interview with WORRELL and interaction with him on January 18, 2021,
I recognize the individual in the yellow shirt in these two photographs to be WORRELL.1




1
 I have, at times, used cropped versions of photographs or video stills in this affidavit, in order to focus the reader
on certain features.
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        11.    In these photographs, WORRELL can be seen with other individuals. Those
individuals are wearing clothing that appears to be affiliated with the Proud Boys (including, for
example, a helmet and hat with “PB” emblazoned on them; and the Fred Perry yellow and black
laurel wreath insignia that is now commonly worn by members of the Proud Boys). WORRELL
appears to be wearing a Proud Boy patch on his tactical vest. As shown in the next two
photographs, WORRELL appears to have worn this same or a nearly identical tactical vest at the
U.S. Capitol on January 6, 2021.

        12.     In reviewing the images and videos that have been downloaded by the FBI from
various open-source websites depicting the events of January 6, 2021 at the U.S. Capitol, as well
as images and videos submitted from private citizens to the FBI, I found additional images and
videos that feature an individual whom I believe to be WORRELL near and at the Capitol building
on January 6, 2021. My identification of him as WORRELL is based on his appearance, my
personal memory of him, and comparison of these images to WORRELL’s driver’s license
photograph. Based on that identification, I refer to this individual as WORRELL throughout the
remainder of this affidavit.

        13.    WORRELL is identified in these photographs and videos from January 6, 2021, by:

       his facial features;

       his salt and pepper hair and short haircut;

       his desert/tan-colored tactical vest with an American flag patch, a Gadsden flag patch,
        camera, and a canister of what appears to be pepper spray;
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       his American-flag-colored neck gaiter that is red, white, and blue;

       his brown long-sleeve shirt or sweatshirt;

       his camouflage-colored hydration pack on his back.

       14.     The following images, all obtained from open-source websites, depict WORRELL
wearing these items:
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        15.     A zoomed-in version of this photograph shows a canister clipped to the front right
side of his tactical vest. As the following photographs show, the appearance of that canister
appears to match that of a common brand of pepper spray gel. The spray nozzle location, black
side clip, coloring (black with white and red lettering), style of lettering, and size and location of
the white and red text all appear to match. In addition, as noted below, WORRELL is later seen
spraying a substance from a canister. Given all of that, I believe this canister contained pepper
spray gel.
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       16.    WORRELL also has an identifiable scar on the right side of his neck, which I saw
when I met with him on January 18, 2021.

       17.   While conducting this open-source research, I found the following two
photographs. The first depicts WORRELL with other individuals, several of which law
enforcement believe to be Proud Boy members, in front of the U.S. Capitol. The second depicts
WORRELL near the U.S. Capitol. WORRELL is circled in red in both photographs.
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       18.    I reviewed additional open-source video from YouTube that shows WORRELL
wearing the same clothing, tactical vest, and hydration pack. In the screenshot from this video
below, WORRELL is wearing what appear to be a push-to-talk radio ear piece in his left ear.
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        19.    The following two photographs were obtained from a photographer who provided
his photographs to the FBI. They depict WORRELL on the West Side of the U.S. Capitol
Building. The area depicted in the following photographs, as well as the photographs in
Paragraphs 23 through 27, is on the U.S. Capitol Grounds under 40 U.S.C. § 5104(e) and is
within a restricted building or grounds under 18 U.S.C. § 1752. The first photograph is a
zoomed-in version of the second photograph, showing the features that allowed me to
identify him as WORRELL. In the second photograph, he is off to the left, and is circled in red.
The timestamp on this photograph’s metadata states that it was taken at 2:37 PM on January 6,
2021.
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        20. In addition to this individual’s clothing, appearance, hair, gaiter, and vest matching
that of WORRELL in the other photographs from that day, open-source video from Twitter that I
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have reviewed appears to confirm that WORRELL was present at this location. That video is
taken from a different vantage point, but appears to depict the same or similar crowd at what
appears to be approximately this time. In that video, as in this photograph, WORRELL, who is
identifiable by his clothing, hair, and gaiter, is standing a few rows back from a line of officers
guarding an entry way to the U.S. Capitol Building. He is approximately ten yards to the left of
the black statue on a white granite pedestal that is wrapped in plastic on the right side of the
preceding photograph (this statue is circled in green above). To the right and in front of that statute
is a line of U.S. Capitol Police and Metropolitan Police Department officers attempting to control
the crowd.

         21.    The photographer also provided the following photograph of WORRELL,
identifiable by his hair, clothing, hydration pack, tactical vest, and face, standing in front of the
same statue, which is identifiable by the plastic wrapping and the wooden platform just to its right.
In this photograph, WORRELL appears to be spraying pepper spray gel in the direction off-camera
near the steps leading into the U.S. Capitol Building. The metadata accompanying this image
indicates that this photograph was taken at 2:31 PM on January 6, 2021.




        22.    I do not currently know with certainty the target at which WORRELL was spraying.
However, in other photographs and videos from that time of day, law enforcement officers are
positioned where WORRELL appears to be spraying pepper spray. For example, the metadata for
the following image, from the same photographer, indicates that it was taken at 2:27 PM, four
minutes before the photograph of WORRELL pepper spraying. I know from the other architectural
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and structural features in this photograph that it is viewing south from close to the standpoint of
where WORRELL is pictured in the photograph above. A line of law enforcement officers is
visible on the left of the photograph.




         23.    The metadata for the following image, also from the same photographer, indicates
that it was taken at 2:32 PM, just one minute after the photograph of WORRELL pepper spraying.
Again, this photograph is taken from the same perspective as the photograph above, facing south.
The white platform that forms the backdrop of the photograph above of WORRELL pepper
spraying is visible on the lower left portion of the photograph. Right next to that platform is, again,
a line of law enforcement officers.
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        24.     Finally, open-source video captured on that day that I have reviewed appears to
capture WORRELL at or near the time of the pepper-spray assault. In this video, I can see a man
and woman who appear to match the man and woman standing on the white wooden platform in
the background of the photograph of WORRELL pepper spraying. These two individuals are
circled in red below. The woman has a tan jacket and red gloves, which she is holding over her
face in the high-resolution photograph of WORRELL pepper spraying; the same woman appears
to be holding her gloves in the same or a similar position in the still I have captured from the video.
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       25.     Roughly twenty seconds later in that video, a person I believe to be WORRELL
appears in the frame, for only a few seconds. The following two cropped stills from that video
capture that moment. You can see the black statute wrapped in plastic, under which WORRELL
was standing when spraying pepper spray gel, on the right side of the photograph:
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        26.     The first of those two photos depicts certain things that also appear in the
photograph of WORRELL pepper-spraying: an American flag waving in the background;
someone’s hand holding up what appears to be a black cellphone over WORRELL’s right
shoulder; and a tall individual with a black helmet, reflective sunglasses, and a black and gray neck
gaiter next to or behind WORRELL. I have cropped and reproduced the relevant portions of those
photographs below, with the identifying features I just noted circled in green.
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        27.    Based on these photographs placing WORRELL at a time when law enforcement
officers appear to have been located in the direction where he was spraying, and the fact that rioters
sprayed pepper spray at law enforcement officers on numerous occasions at this general location
in the minutes surrounding this time, I believe the likely intended target of WORRELL’s pepper
spray assault was the line of law enforcement officers present in these photographs.

        28.    On March 2, 2021, I reviewed a YouTube video that appears to have been made by
a Turkish public broadcasting company, TRT World. It was posted on YouTube on January 7,
2021. At the 9:13-minute mark of the video, WORRELL and two other unknown males are
interviewed and identified as Proud Boys members. All three individuals are wearing shirts with
the Fred Perry yellow and black laurel wreath insignia that is now commonly worn by members
of the Proud Boys. WORRELL’s black t-shirt has “Proud Boys” written on it in yellow letters.
Based upon this video and businesses viewed in the background, I was able to determine the
filming location from personal recollection. The video was filmed in Naples, Florida at the
Mercato Shopping Mall. The two screenshots below show WORRELL’s face and, in the second
screenshot, WORRELL talking with Enrique Tarrio, the leader of the Proud Boys.
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        29.     Based on the foregoing, your affiant submits that there is probable cause to believe
that WORRELL violated 18 U.S.C. § 1752(a)(1), (2) and (4), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
(2) knowingly, and with intent to impede or disrupt the orderly conduct of Government business
or official functions, engage in disorderly or disruptive conduct in, or within such proximity to,
any restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; (4) knowingly engage in any act of
physical violence against any person or property in any restricted building or grounds; or attempt
or conspire to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance. Your affiant further submits that there is probable cause to
believe that WORRELL used or carried a deadly or dangerous weapon during and in relation to
his violations of 18 U.S.C. § 1752(a)(1), (2), and (4), under 18 U.S.C. § 1752(b)(1)(A).

        30.     Your affiant submits there is also probable cause to believe that WORRELL
violated 40 U.S.C. § 5104(e)(2)(D) and (F), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress, or (F) engage in an act of physical violence in the Grounds or any of the
Capitol Buildings.
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        31.    Finally, your affiant submits there is probable cause to believe that WORRELL
violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or impede any
official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are
official proceedings.


                                                    _________________________________
                                                    Alexander Grandy, Task Force Officer
                                                    FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 10th day of March, 2021.
                                                                          Digitally signed by G. Michael
                                                                          Harvey
                                                                          Date: 2021.03.10 22:09:54
                                                    ___________________________________
                                                                          -05'00'
                                                    G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE
